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                    EXHIBIT 75
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2014 BUDGET TRACKER
    2014 VANTRELA ER PR SUPPORT                    BUDGET         Jan-14   Feb-14   Mar-14        Apr-14        YTD        Remaining

              Hydrocodone                  FEE              -          -        -            -                        -           0.00
            345378-10831475                OOP              -                   -            -                        -           0.00
                                           TOTAL            -          -        -            -          -             -           0.00
 Pain Matters - PAINWeek Screening Event   FEE       50,000.00         -        -     22,035.00    5,118.75    27,153.75     22,846.25
           356688 - 10855395               OOP      120,000.00                  -     87,786.74         -      87,786.74     32,213.26
              PO 42168430                  TOTAL    170,000.00         -        -    109,821.74    5,118.75   114,940.49     55,059.51
         Pain Matters Road Tour            FEE      150,000.00         -        -     25,398.75    6,532.50    31,931.25    118,068.75
           356689 - 10855395               OOP       90,000.00                  -      9,756.88         -       9,756.88     80,243.12
                                           TOTAL    240,000.00         -        -     35,155.63    6,532.50    41,688.13    198,311.87
              Exit Wounds                  FEE       85,000.00         -        -            -                        -      85,000.00
           356690 - 10855395               OOP       15,000.00                  -            -                        -      15,000.00
                                           TOTAL    100,000.00         -        -            -          -             -     100,000.00
        Advocacy Advisory Board            FEE       85,000.00         -        -            -                        -      85,000.00
           356691 - 10855395               OOP       15,000.00                  -            -                        -      15,000.00
                                           TOTAL    100,000.00         -        -            -          -             -     100,000.00
  Medical Meeging Analysis and Support     FEE      125,000.00         -        -     71,955.00         -      71,955.00     53,045.00
           356692 - 10855395               OOP       40,000.00                  -      1,152.26    1,070.20     2,222.46     37,777.54
                                           TOTAL    165,000.00         -        -     73,107.26    1,070.20    74,177.46     90,822.54
      Phase III Data Communications        FEE      130,000.00         -        -     43,338.75   37,342.50    80,681.25     49,318.75
           356693 - 10855395               OOP       85,000.00                  -            -          -             -      85,000.00
                                           TOTAL    215,000.00         -        -     43,338.75   37,342.50    80,681.25    134,318.75
          NDA Communications               FEE       80,000.00         -        -            -                        -      80,000.00
           356695 - 10855395               OOP        5,000.00                  -            -                        -       5,000.00
                                           TOTAL     85,000.00         -        -            -          -             -      85,000.00
           Admin and Counsel               FEE      275,000.00         -        -     81,900.00   23,838.75   105,738.75    169,261.25
           356696 - 10855395               OOP       15,000.00                  -      3,379.87     236.00      3,615.87     11,384.13
                                           TOTAL    290,000.00         -        -     85,279.87   24,074.75   109,354.62    180,645.38
                                           FEE      980,000.00         -        -    244,627.50   72,832.50   317,460.00    662,540.00
                 TOTAL                     OOP      385,000.00         -        -    102,075.75    1,306.20   103,381.95    281,618.05
                                           TOTAL   1,365,000.00        -        -    346,703.25   74,138.70   420,841.95    944,158.05
